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 4
     Attorney for Defendant
 5   ARMANDO ESPINDOLA

 6

 7                         IN THE UNITED STATES DISTRICT COURT

 8                        FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,              )
                                            )       2:09-cr-00380-WBS
11                            Plaintiff,    )
                                            )       STIPULATION AND [PROPOSED] ORDER
12   v.                                     )       TO CONTINUE ADMIT/DENY HEARING
                                            )
13                                          )
     ARMANDO ESPINDOLA,                     )
14                                          )
                             Defendant.     )
15   __________________________________     )

16
                                        STIPULATION
17
           Plaintiff, United States of America, by and through its counsel,
18
     Assistant United States Attorney Jeremy J. Kelley, and defendant, Armando
19
     Espindola, by and through his counsel, Erin J. Radekin, agree and stipulate
20
     to vacate the date set for admit/deny hearing, April 11, 2016 at 9:00 a.m.,
21
     in the above-captioned matter, and to continue the admit/deny hearing to June
22
     6, 2016 at 9:00 a.m. in the courtroom of the Honorable William B. Shubb.
23
           The reason for this request is that the parties have determined
24
     resolution of this matter should follow the state matter that underlies the
25
     sole violation of supervised release alleged, and the next court appearance
26
     in the state case is April 13, 2016.       The defense in the state matter
27
     contemplates there will be a further continuance of about one month
28



                                    Stipulation and Order - 1
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 1   thereafter.     The court is advised Mr. Kelley and United States Probation

 2   Officer Jose Figueroa concur with this request and Mr. Kelley has authorized

 3   Ms. Radekin to sign this stipulation on his behalf.

 4            Accordingly, the parties respectfully request the Court adopt this

 5   proposed stipulation.

 6   IT IS SO STIPULATED.

 7   Dated: April 8, 2016                           BENJAMIN WAGNER
                                                    United States Attorney
 8
                                            By:      /s/ Jeremy J. Kelley
 9                                                  JEREMY J. KELLEY
                                                    Assistant United States Attorney
10

11   Dated: April 8, 2016                            /s/ Erin J. Radekin
                                                          ERIN J. RADEKIN
12                                                  Attorney for Defendant
                                                    ARMANDO ESPINDOLA
13

14
                                            ORDER
15
              For the reasons set forth in the accompanying stipulation and
16
     declaration of counsel, the admit/deny hearing date of April 11, 2016 is
17
     VACATED and the above-captioned matter is set for admit/deny hearing on June
18
     6, 2016 at 9:00 a.m.
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     IT IS SO ORDERED.
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     Dated:     April 8, 2016
21

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                                     Stipulation and Order - 2
